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              EXHIBIT 6
               Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 2 of 15


Mentzer, Stefan
From:                   Gretchen Wallace [Gretchen.Wallace@myfloridalegal.com]
Sent:                   Wednesday, April 13, 2011 8:35 AM
To:                     Mentzer, Stefan
Cc:                     Cohen, Daniel; Daniel.Lake; Audette, Danielle
Subject:                RE: United States ex rel. Ven-A-Care of the Florida Keys v. Actavis Mid Atlantic LLC - Civil
                        Action No. 08-10852-PBS
Attachments:            11-04-13AHCATerms by Custodian._Titlesxlsx.xlsx



(See attached file: 11-04-13AHCATerms by Custodian._Titlesxlsx.xlsx)

Stefan,

Here is the spreadsheet responsive to your request in the email below.

Sincerely,

Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From: "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:   "Gretchen Wallace" <Gretchen.Wallace@myfloridalegal.com>
Cc:   "Cohen, Daniel" <daniel.cohen@ny.whitecase.com>, "Daniel.Lake"
            <Daniel.Lake@ahca.myflorida.com>, "Audette, Danielle"
            <daudette@ny.whitecase.com>
Date: 04/08/2011 06:25 PM
Subject:    RE: United States ex rel. Ven-A-Care of the Florida Keys v.
            Actavis Mid Atlantic LLC - Civil Action No. 08-10852-PBS



Gretchen,

Please provide breakouts showing, for each document custodian, the number
of
documents resulting from each proposed search term. We may be able to
eliminate certain search terms and/or document custodians and thereby
reduce
                                                        1
            Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 3 of 15
the number of documents to review and produce. To facilitate this, please
also provide the names and positions of the document custodians in the
database.

Moreover, please respond to the other issues raised in my April 6 e-mail,
including whether the state can simply produce the entire database.
Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax:          + 1 212 354 8113
smentzer@whitecase.com




-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 08, 2011 6:01 PM
To: Mentzer, Stefan
Cc: Cohen, Daniel; Daniel.Lake; Audette, Danielle
Subject: RE: United States ex rel. Ven-A-Care of the Florida Keys v.
Actavis
Mid Atlantic LLC - Civil Action No. 08-10852-PBS


Dear Stefan:

This email is in partial response to your latest proposal set forth in your
email below.

The search terms you requested be applied to the existing database was
completed; there were 196,000 documents responsive to the key search term
hits. Accordingly, the estimate obtained just to review these documents is
as follows:


As requested, below is the estimate for the cost to review 196,000
documents in response to the 3rd Party subpoena. We are providing a three,
six and nine month estimates to complete the review.


3 months:

     -           8 hour work day
     -           60 documents per hour




|---------------------+---------------------+---------------------|
                                              2
            Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 4 of 15
|       Service       |      Unit Cost      |     Total Price     |
|---------------------+---------------------+---------------------|
|Reviewers (7)        |$50.00 per hour      |$168,000.00          |
|---------------------+---------------------+---------------------|
|Review Managers (2) |$52.00 per hour       |$49,920.00           |
|---------------------+---------------------+---------------------|
|Project Manager (1) |$175.00 per hour      |$84,000.00           |
|---------------------+---------------------+---------------------|
|                     |                     |Total: $301,920.00   |
|---------------------+---------------------+---------------------|




6 months:

     -           8 hour work day
     -           60 documents per hour




|---------------------+---------------------+---------------------|
|       Service       |      Unit Cost      |     Total Price     |
|---------------------+---------------------+---------------------|
|Reviewers (4)        |$50.00 per hour      |$192,000.00          |
|---------------------+---------------------+---------------------|
|Review Managers (1) |$52.00 per hour       |$49,920.00           |
|---------------------+---------------------+---------------------|
|Project Manager (1) |$175.00 per hour      |$84,000.00           |
|---------------------+---------------------+---------------------|
|                     |                     |Total: $325,920.00   |
|---------------------+---------------------+---------------------|




9 months:

     -           8 hour work day
     -           60 documents per hour




|---------------------+---------------------+---------------------|
|       Service       |      Unit Cost      |     Total Price     |
|---------------------+---------------------+---------------------|
|Reviewers (3)        |$50.00 per hour      |$216,000.00          |
|---------------------+---------------------+---------------------|
|Review Managers (1) |$52.00 per hour       |$74,880.00           |
|---------------------+---------------------+---------------------|
|Project Manager (1) |$175.00 per hour      |$63,000.00           |
|---------------------+---------------------+---------------------|
|                     |                     |Total: $353,880.00   |
|---------------------+---------------------+---------------------|
                                              3
            Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 5 of 15




 The folders of State Plan Amendments have not yet been received. Once I
get them, I will provide you with an estimate of review time and any
associated costs of production. I will be out of the office on Monday and
back in the office on Tuesday. I will await your response to this cost
estimate and if you want to set up another meet and confer concerning your
current proposals, I am available any day next week except Monday.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From:        "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:          "Gretchen Wallace" <Gretchen.Wallace@myfloridalegal.com>
Cc:          "Audette, Danielle" <daudette@ny.whitecase.com>, "Cohen,
            Daniel" <daniel.cohen@ny.whitecase.com>, "Daniel.Lake"
            <Daniel.Lake@ahca.myflorida.com>
Date:        04/08/2011 12:33 PM
Subject:            RE: United States ex rel. Ven-A-Care of the Florida Keys
v.
            Actavis Mid Atlantic LLC - Civil Action No. 08-10852-PBS



Gretchen,

I am following up to see if the state has a response to these proposals
below
-- please let me know. Thanks,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com


                                              4
             Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 6 of 15


-----Original Message-----
From: Mentzer, Stefan
Sent: Wednesday, April 06, 2011 11:56 AM
To: 'Gretchen Wallace'
Cc: Audette, Danielle; Cohen, Daniel; Daniel.Lake
Subject: United States ex rel. Ven-A-Care of the Florida Keys v. Actavis
Mid
Atlantic LLC - Civil Action No. 08-10852-PBS

Gretchen,

To follow up on our conversation yesterday, it is our understanding that
Florida has collected a folder of relevant portions of the Medicaid state
plans and amendments (including some but not all correspondence with CMS).
Also, in connection with the pending state case, Florida has developed a
database containing the documents of a number of custodians (I think you
mentioned twenty or so, including Jerry Wells) who are likely to have
documents responsive to the subpoena.

We propose the following:

1.                          Please produce a copy of the folder described
above this
week.

2.                         I am attaching a list of search terms that we are
asking
Florida to
run for all custodians and all time periods in the document database
described above. Please let me know the number of documents that result
from
each of these search terms and the expected time frame for producing these
documents. Alternatively, has the state completed a privilege review of
its
entire document database? If so, then we ask that the state simply produce
the database in its entirety.

3.                         At this time, we are not asking the state to
search for
documents
outside of items 1 and 2 described above. We reserve the right to request
additional documents upon receipt and review of the state's production.

As discussed, the state will provide us with an estimate of the cost of
producing these documents. However, as I mentioned, Sandoz does not agree
to
pay for the costs or expenses associated with the state's production of
documents responsive to the subpoena. There is no requirement under the
federal rules that a requesting party reimburse a subpoenaed party's
expenses, and moreover as reflected in my March 24 letter, Sandoz has made
substantial good-faith efforts to review the prior productions made by
Florida and to narrow the scope of the documents being requested under the
subpoena. In addition, the state appears already to have done most of the
legwork in collecting responsive documents for purposes of its state
action,
                                               5
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and the additional burden of running search terms and producing documents
responsive to the subpoena is minimal.

I am happy to discuss these issues further if you have any questions or
comments. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com




-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:27 PM
To: Mentzer, Stefan
Cc: Cohen, Daniel; Daniel.Lake; Audette, Danielle
Subject: RE: Sandoz subpoena - Letter from Stefan Mentzer

I will call you at 10 est on Tuesday. In case you need it, my direct line
is 850 414 3911. Thanks.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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From:                      "Mentzer, Stefan" <smentzer@ny.whitecase.com>
To:                        "Gretchen Wallace"
<Gretchen.Wallace@myfloridalegal.com>
Cc:                        "Daniel.Lake" <Daniel.Lake@ahca.myflorida.com>,
"Audette,
            Danielle" <daudette@ny.whitecase.com>, "Cohen, Daniel"
            <daniel.cohen@ny.whitecase.com>
Date:                      04/01/2011 04:24 PM
Subject:                         RE: Sandoz subpoena - Letter from Stefan
Mentzer
                                              6
           Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 8 of 15




I am available at 10:00 am on Tuesday -- please let me know if that works
for
you. The number to call is 212 819 8705. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com



-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:21 PM
To: Mentzer, Stefan
Cc: Daniel.Lake; Audette, Danielle
Subject: RE: Sandoz subpoena - Letter from Stefan Mentzer

Monday is not good for me, but anytime Tuesday except for 3:p.m.-3:30 p.m.
is fine. Just give me a number to call. Thanks.
Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com

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material from any computer.



From:                                               "Mentzer, Stefan"
<smentzer@ny.whitecase.com>
To:                                                 "Gretchen Wallace"
<Gretchen.Wallace@myfloridalegal.com>
Cc:                                                 "Daniel.Lake"
<Daniel.Lake@ahca.myflorida.com>,
"Audette,
            Danielle" <daudette@ny.whitecase.com>
Date:                                               04/01/2011 04:14 PM
Subject:                                                  RE: Sandoz
                                              7
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subpoena - Letter from
Stefan
Mentzer



Gretchen,

Please let me know if you are available for a telephone conference on
Monday
to discuss the issues related to the subpoena. Regards,

Stefan

Stefan Mentzer
White & Case LLP
1155 Avenue of the Americas
New York, New York 10036
Telephone: + 1 212 819 8705
Fax: + 1 212 354 8113
smentzer@whitecase.com



-----Original Message-----
From: Gretchen Wallace [mailto:Gretchen.Wallace@myfloridalegal.com]
Sent: Friday, April 01, 2011 4:10 PM
To: Audette, Danielle
Cc: Daniel.Lake; Mentzer, Stefan
Subject: Re: Sandoz subpoena - Letter from Stefan Mentzer

Dear Ms. Audette and Mr. Mentzer:

Attached is our reply to Mr. Mentzer's letter dated March 24, 2011.

Sincerely,

Gretchen H. Wallace
Senior Assistant Attorney General
Office of the Attorney General
Medicaid Fraud Control Unit
Phone: 850-414-3911 SunCom: 994-3600
Fax: 850-487-0179 SunCom: 277-9475
E-mail: Gretchen.Wallace@myfloridalegal.com


(See attached file: 11-04-01WallaceLtr.Mentzer.pdf)



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           Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 10 of 15
material from any computer.



From:
                       "Audette,
Danielle"
<daudette@ny.whitecase.com>
To:
                       "Gretchen
Wallace"
<Gretchen.Wallace@myfloridalegal.com>,
            "Daniel.Lake" <Daniel.Lake@ahca.myflorida.com>
Cc:
                       "Mentzer,
Stefan"
<smentzer@ny.whitecase.com>
Date:
                       03/24/2011
03:10 PM
Subject:
Sandoz subpoena -
Letter from
Stefan
Mentzer



Counsel,

Please see the attached letter from Stefan Mentzer.

Regards,
Dani Audette
Associate
Commercial Litigation Practice
White & Case LLP
1155 Avenue of the Americas
New York, NY 10036
(212) 819-8902
daudette@whitecase.com


=============================================================================




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                                              9
           Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 11 of 15
hours of 9:30am - 5:30pm (EST). Any other time please call (212) 819-7664.
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(See attached file: 3-24-2011 Sandoz Ltr to FL.pdf)



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           Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 12 of 15
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(See attached file: smm- (VAC) list of proposed search terms for
florida.DOC)



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           Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 13 of 15
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Please then delete the e-mail and any copies of it. Thank you.


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                                                            Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 14 of 15



                                                                      "Centers
                                                                         for
                                              "Average    "Average                "Estimated   "Health Care    "Myers                                   "Wholesale
                                                                      Medicare                                          "Provider "Reimbursement "State             4.19(       4.19-     acqui* w/5                                                pharmac*                    Grand
  Custodian          Title         (blank)   Manufacturer Wholesale               Acquisition   Financing        and                                    Acquisition       4.19B       Abt               AMP     AWP     CMS      EAC       HCFA                   SPA    WAC
                                                                        and                                             Synergies"   for drugs"  Plan"               b)           B          cost*                                                  w/5 reimb*                  Total
                                                Price"     Price"                    Cost"    Administration" Stauffer"                                   Cost"
                                                                      Medicaid
                                                                      Services"
               Contract
               Management:
Strowd, Alan   Bureau Chief        113,689             63       262       4,167          103            473        70        160               12   3,660         60    9     2    9   40        452    1,407    650    22,190    263       2,499           638    630    463 151,971
               Pharmacy
               Services: Bureau
Wells, Anne    Chief                74,793            488       701       1,764          213              96       41      2,075               75   2,334        346   47    35   47   29       1,347   1,498   3,012   10,271    300        497          2,129    583 2,074 104,795
               Medicaid
               Program
               Integrity: Case
               Manager.Former
               Pharmacy
Yon, Ken       Services             68,339             66       105       1,170           28            210        18          8               13    984          23    1          1    7        233     669     165     8,080     68        467            376    108     73    81,212

Pharmacy
GroupShare    N/A                   20,488            480       694         960          208            337         8      1,290               89   1,022        230   69    11   69   57        676    1,571   1,484    5,027    259        750          1,875    295 1,028     38,977
              Pharmacy
              Services:
Barnes, Linda Pharmacist (F)        26,853            155       246         467           51              43       19      1,006               45    509         116    5          5   13        362     773    1,074    3,334    109        263            703    130    909    37,190

               Deputy Secretary
Richard, Sybil of Medicaid (F)      20,218            161       185       1,921           40            186         3        185               22   2,521         50   35     3   35   12        252     401     382     7,487     41        251            387    403    256    35,437
               Pharmacy
               Services:
               Government
Aldridge, Ray Analyst II            24,739             55       210         179           55              11        2        928                9    186          45    6          6   57        297    1,349   1,772    1,699    120        333            405     75 1,644     34,182

               Government
               Analyst II,
               Contracts,
               Research and
               Evaluation,
Wiggins,       Former Pharmacy
Regina         Services             27,738             25        21         238            2              24                 369                1    241           3                   103        20     468     192     2,379     22        131            189    295    109    32,570

               Quality
               Management:
               Analyst II.
               Former Medicaid
               Services and
Ottinger,      Pharmacy
Jason          Services             23,173             11        38         538           13              68                 145                     519          16   34     7   34   27         49     728     119     3,858    152        184            115    182     54    30,064

               Pharmacy
               Services: Bureau
Wells, Jerry   Chief (F)            18,144            196       359         629           94            269        32        527               46    744          78   56     8   56   12        319     439     797     3,850    122        496            694    256    481    28,704

              Contract
              Management:
Morton, Sally Bureau Chief (F)      18,096              4        53         560           25            286         1         31                     454           5          1        18         73      47     111     3,618     58       1,141           101     73     23    24,779

               Assistant Deputy
Sharpe,        Director Medicaid
Robert         (F)                  15,228             74       195         850           10            396         5        179               28   1,738         23   44     8   44   19        100     103     278     3,611         9    1,168           244    276     67    24,697
               Pharmacy
               Services:
Donnelly,      Government
Marie          Analyst II           14,352            142       243       1,004          126            122        18        343               43   1,026         68   84    25   84   11        292     478     484     3,184    171        302            523    368    390    23,883
                                                            Case 1:01-cv-12257-PBS Document 7552-6 Filed 05/20/11 Page 15 of 15



                                                                       "Centers
                                                                          for
                                              "Average    "Average                 "Estimated   "Health Care    "Myers                                   "Wholesale
                                                                       Medicare                                          "Provider "Reimbursement "State             4.19(       4.19-     acqui* w/5                                                       pharmac*                          Grand
  Custodian          Title         (blank)   Manufacturer Wholesale                Acquisition   Financing        and                                    Acquisition       4.19B       Abt               AMP       AWP       CMS       EAC       HCFA                        SPA       WAC
                                                                         and                                             Synergies"   for drugs"  Plan"               b)           B          cost*                                                         w/5 reimb*                        Total
                                                Price"     Price"                     Cost"    Administration" Stauffer"                                   Cost"
                                                                       Medicaid
                                                                       Services"

               Medicaid
               Program Analysis,
               Sr. Database
Quinn, Ralph   Analyst              17,460             42        11          110            6              23        9        367                     208           2                   59         98      540        55      2,212     215        374               46        73       100    22,010
               Pharmacy
Frost-Penn,    Services, Staff
Darlene        Assistant            16,722             23       106          119           11              39                 154                     265           9                   10         58      212       130       522       21         71              130       132        82    18,816


               Medicaid
               Program Analysis,
               Medicaid
               Healthcare
Bracko, Greg   Program Analyst      12,528             21        17          407                         127         2         58                    1,078         10    1          1    6         30      135        56      3,360          6     285               60       268        40    18,496

               Pharmacy
Kitchens,      Services: Bureau
George         Chief (F)             4,363             33       105          134            1             39                  364                7    175          17    1     1    1    7         47       83       145       565           3     115              118        42        57     6,423

              Deputy Director
Crayton, Gary Medicaid (F)           1,689                        5           15            1            102                                           60                                9         15          5      13        84                 159               12            4     2      2,175
              Pharmacy
              Services:
Mann, Jane    Pharmacist (F)         1,277                        2            7                            2                   2                       4           1                               6          4      26        43           1      14                   4         2     14     1,409
              Pharmacy
Lipscomb,     Services:Pharmac
Stephen       ist (F)                  714                        4            6                            1                   3                       1                                           1          1      20        36                      8            26                  4       825
              Pharmacy
McLeod,       Services:
Susan         Pharmacist (F)           214                        1            1                                                                                                                                         1         2         1      16                   1                       237
              Pharmacy
              Services:
Preacher, Sue Pharmacist (F)            76              1         1                         4               5                                           2                2          2               4          2                   6         2      21                   6               1       135
Org Charts     N/A                                                                                                                                      1                                           1                              1                                                                  3
               Pharmacy
               Services:
Powers, Jim    Pharmacist (F)            3                                                                                                                                                                                                                                                            3
Grand Total                        520,896          2,040      3,564      15,246          991           2,859      228      8,194              390 17,732       1,102 394    101 394 496         4,732   10,913    10,966    85,419    1,943      9,545           8,782 4,195 7,871 718,993
